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                       UNITED STATES DISTRICT COURT
                                            for the
                                  Western District of Kentucky
                                   Bowling Green Division

Debra Cage                                    )
      Plaintiff                               )
                                              )
v.                                            )       Case No.       1:17-cv-00038-GNS
                                              )
Jefferson Capital Systems, LLC                )
       Defendants                             )
                                              )

              NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
              AS TO DEFENDANT JEFFERSON CAPITAL SYSTEMS, LLC

TO THE HONORABLE UNITED STATES DISTRICT COURT:

        Pursuant to Fed. R. Civ. P. 41 Plaintiff hereby gives notice that she is dismissing with

prejudice her claims against Defendant Jefferson Capital Systems, LLC pursuant to settlement.

Except as provided by the parties’ settlement agreement, each party shall bear its own costs and

fees.



                                      Respectfully submitted,

                                      /s/ James R. McKenzie
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                                      Counsel for Plaintiff
                                      Debra Cage




                                CERTIFICATE OF SERVICE

       This is to certify that I served a true copy of the foregoing Notice of Voluntary Dismissal
via U.S. Mail on the persons at the addresses set forth below this 11th day of August, 2017:

       Jefferson Capital Systems, LLC
       c/o Corporation Service Company
       421 W. Main Street
       Frankfort, KY 40601

                                      /s/ James R. McKenzie
                                      Counsel for Plaintiff
                                      Debra Cage




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